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                                    UNITED STATES DISTRICT COURT
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                                   CENTRAL DISTRICT OF CALIFORNIA
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10                                                      Case No.: 2:23-cv-04150-MEMF-MRW
       MAYANNA BERRIN, individually, and on
11     behalf of all others similarly situated,         ORDER GRANTING IN PART MOTION TO
12                                  Plaintiff,          DISMISS WITH LEAVE TO AMEND [ECF
                                                        NO. 22]
13                   v.

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15     DELTA AIR LINES, INC.,

16                                  Defendant.

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21            Before the Court is the Motion to Dismiss filed by Defendant Delta Air Lines, Inc. For the

22     reasons stated herein, the Court hereby GRANTS IN PART the Motion to Dismiss with leave to

23     amend. ECF No. 22.

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1          I.      Background
2                  A. Factual Background1
3               Defendant Delta Air Lines, Inc. (“Delta”) is a major commercial airline. FAC ¶ 2. Since
4      March 2020, Delta has repeatedly touted itself as “the world’s first carbon-neutral airline” in
5      advertising, press releases, LinkedIn posts, podcasts, and in-flight napkins. Id. ¶ 3. A reasonable
6      consumer reviewing these representations would believe that when taking account all of Delta’s
7      carbon emissions and related green investments, Delta has not been responsible for releasing any net
8      additional carbon in the atmosphere since March 2020. Id. ¶ 4. Delta’s claim of carbon-neutrality is
9      based on carbon offsetting via participation in the voluntary carbon offset market, which is a loose
10     arrangement of companies and NGOs that facilitate investment in green projects. Id. ¶ 5. In
11     exchange for their investment in these projects, companies receive carbon offsets in the form of
12     credits that in theory verify the amount of carbon not released due to the investment. Id.
13              Plaintiff Mayanna Berrin (“Berrin”) has discovered that Delta’s carbon-neutrality
14     representations are false. Id. ¶ 6. Berrin alleges that foundational issues with the voluntary carbon
15     offset market make it impossible to make a company carbon-neutral with the purchase of offsets. Id.
16     Specifically, the offset vendors purchased by and relied on by Delta have issues with inaccurate
17     accounting, crediting of offsets for projects that would have occurred without the investment,
18     speculative and non-immediate emissions reductions, and impermanent projects whose carbon-
19     offestting potential may not be fully realized. Id. ¶¶ 6–7.
20              Scientists and government regulators have identified Delta as one of many companies who
21     have grossly misstated the actual carbon reduction produced by their carbon offset portfolio. Id. ¶ 7.
22     As Delta’s claims of carbon-neutrality are allegedly false and misleading, the operation of its flights
23     are not carbon neutral. Id. ¶ 8. Specifically, since March 2020, Berrin has purchased Delta flights
24     due to her belief that by flying Delta, she was engaging in more ecologically conscious air travel. Id.
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        All facts stated herein are taken from the allegations in Plaintiff’s operative First Amended Complaint unless
27     otherwise indicated. ECF No. 19 (“FAC”). For the purposes of this Motion, the Court treats these factual
       allegations as true, but at this stage of the litigation, the Court makes no finding on the truth of these
28     allegations, and is therefore not—at this stage—finding that they are true.


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1      ¶ 9. Accordingly, Berrin alleges that she would not have purchased tickets for Delta flights, or would
2      have paid substantially less for them, had she known this information. Id. ¶¶ 8–9.
3                   B. Procedural History
4                On May 30, 2023, Berrin brought the instant lawsuit on behalf of herself and others similarly
5      situated, alleging causes of action for: (1) violation of California’s Consumers Legal Remedies Act
6      (“CLRA”); (2) violation of California’s False Advertising Law (“FAL”); and (3) violation of
7      California’s Unfair Competition Law (“UCL”). See FAC.
8                On August 18, 2023, Delta filed the instant Motion to Dismiss. ECF No. 22 (“Motion”). On
9      October 16, 2023, Berrin filed her opposition. ECF No. 26 (“Opposition”). On November 6, 2023,
10     Delta filed its reply. ECF No. 29 (“Reply”). On December 14, 2023, the Court heard oral argument
11     on the Motion.2
12         II.      Applicable Law
13               Federal Rule of Civil Procedure 12(b)(6) allows an attack on the pleadings for “failure to
14     state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to
15     dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to
16     relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
17     Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff
18     pleads factual content that allows the court to draw the reasonable inference that the defendant is
19     liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.
20               The determination of whether a complaint satisfies the plausibility standard is a “context-
21     specific task that requires the reviewing court to draw on its judicial experience and common sense.”
22     Id. at 679. Generally, a court must accept the factual allegations in the pleadings as true and view
23     them in the light most favorable to the plaintiff. Park v. Thompson, 851 F.3d 910, 918 (9th Cir.
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        At the hearing, Delta for the first time requested that the Court certify this interlocutory order for appeal
26     under 28 U.S.C. § 1292(b). However, a defendant invoking this exception to the final judgment rule has the
       burden of establishing that the requirements of the rule are met. Couch v. Telescope, Inc., 611 F.3d 629, 633
27     (9th Cir. 2010). Given that this issue was not previously raised and has not been briefed by the parties, the
       Court declines to certify this order based on Delta’s oral request, without prejudice to Delta making any
28     motions it has the right to make after issuance of this order.


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1      2017); Lee v. City of Los Angeles, 250 F.3d 668, 679 (9th Cir. 2001). But a court is “not bound to
2      accept as true a legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678 (quoting
3      Twombly, 550 U.S. at 555).
4                As a general rule, leave to amend a dismissed complaint should be freely granted unless it is
5      clear the complaint could not be saved by any amendment. Fed. R. Civ. P. 15(a); Manzarek v. St.
6      Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).
7         III.        Discussion
8                Delta primarily moves to dismiss Berrin’s claims on the basis that they are preempted by the
9      Airline Deregulation Act (“ADA”). Delta also argues that Berrin’s FAL and UCL claims fail
10     because Berrin has an adequate remedy at law, that her CLRA claim has not been adequately
11     pleaded, and that Berrin lacks standing to pursue any injunctive relief. For the reasons discussed
12     below, the Court finds that Berrin’s claims are not preempted, and that her CRLA claim is
13     adequately pleaded. However, the Court also finds that Berrin’s FAL and UCL claims are
14     inadequately pleaded at this time.
15               A.      Berrin’s Claims Are Not Preempted by the Airline Deregulation Act
16               When analzying federal preemption, there are two guiding principles: (1) that the purpose of
17     Congress is the “ultimate touchstone,” and (2) the starting assumption is “that the historic police
18     powers of the States were not to be superseded by the Federal Act unless that was the clear and
19     manifest purpose of Congress.” City of Los Angeles v. AECOM Services, Inc., 854 F.3d 1149, 1154
20     (9th Cir. 2017). Here, the Supreme Court has analyzed, and held, that the purpose of ADA
21     preemption is to prohibit states from regulating anything “relating to [air carriers’] rates, routes, or
22     services.” Morales v. Trans World Airlines, Inc., 504 U.S. 374, 384 (1992); 49 U.S.C. §
23     41713(b)(4)(A). Although the Supreme Court noted that the ADA’s preemption has a “broad scope”
24     and is “deliberately expansive,” it also stated that “‘some state actions may affect [airline fares] in
25     too tenuous, remote, or peripheral a manner’ to have pre-emptive effect.” Morales, 504 U.S. at 390.
26               In Morales, the Supreme Court found that state regulation dictating what sort of disclosures
27     airlines must make when advertising was preempted by the ADA. Morales, 504 U.S. at 388 (noting
28     that the “guidelines establish binding requirements as to how tickets may be marketed if they are to


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1      be sold at given prices”). In particular, the Supreme Court found that “every one of the guidelines
2      enumerated [] bears a ‘reference to’ airfares,” and that they restricted the ability of an airline to
3      advertise its cheaper fares. Id. at 388. The Supreme Court also noted that “restricting ‘price
4      advertising surely relates to price.’” Id. at 389 (emphasis added). However, it explicitly stated that it
5      was not addressing “state regulation of the nonprice aspects of fare advertising . . .” and that “the
6      connection [there] would obviously be far more tenuous.” Id. at 390 (emphasis added). The facts in
7      Morales did not present a “borderline” question, and therefore the Court expressed “no views about
8      where it would be appropriate to draw the line” for more tenuous situations. Id.3
9              After Morales, the Supreme Court next touched on ADA preemption in American Airlines,
10     Inc. v. Wolens, 513 U.S. 219 (1995). Wolens involved claims against an airline’s reotractive changes
11     in terms and conditions to its frequent flyer program. Id. The plaintiffs in Wolens brought causes of
12     action under the Illinois Consumer Fraud Act as well as for breach of contract. Id. at 225. The
13     Supreme Court found that although both causes of action had the same underlying facts—which
14     were clearly related to rates and services—the plaintiffs’ Illinois Consumer Fraud Act claim was
15     preempted but the contract claim could proceed. Id. at 233. In distinguishing the two, the Supreme
16     Court explained that the ADA’s preemption clause does not “shelter airlines from suits alleging no
17     violation of state-imposed obligations, but seeking recovery solely for the airline’s alleged breach of
18     its own, self-imposed undertakings.” Id. at 228. But, Wolens pointed out “the potential for intrusive
19     regulation of airline business practices inherent in state consumer protection legislation,” implying
20     that there are instances in which such legislation may not be intrusive. Id. at 227 (emphasis added).
21     The Court is aware of no binding authority that holds that any attempt to regulate airline advertising
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         The Supreme Court also noted that the U.S. Department of Transportation (“DOT”) retained the power to
       “prohibit advertisements which in its opinion do not further competitive pricing.” Id. at 391. At the hearing,
25     Delta argued that regulation of advertising falls within the purview of the DOT, supporting preemption.
       However, the Court notes that the DOT’s regulation of airline advertising is limited to matters that appear to
26     fall under the scope of rates, routes, and services. See Office of Aviation Consumer Protection, About Us,
       https://www.transportation.gov/airconsumer/about-us (last updated Jan. 27, 2021) (providing consumer
27     protection and enforcement as to “deceptive airline advertising (e.g., fare, on-time performance, schedule,
       code sharing, etc.)). Therefore, the scope of the DOT’s regulation does not appear to conflict with a state’s
28     ability to regulate advertising unrelated to rates, routes, and services.


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1      or any application of consumer protection laws on airlines would be summarily preempted—in fact
2      that is contrary to the Supreme Court’s holding in Morales. Morales, 504 U.S. at 390.
3              Binding precedent analzying preemption with regards to the Federal Aviation Administration
4      Authorization Act of 1994 (“FAAAA”) is also relevant to the Court’s analysis here, as Congress
5      drew from the preemptive language of the ADA in passing the FAAAA. See Rowe v. New
6      Hampshire Motor Transport Ass’n, 552 U.S. 364, 370 (2008) (applying Morales in “interpreting
7      similar language” in the FAAAA). In Dilts v. Penske Logistics, LLC, the Ninth Circuit applied the
8      rates, routes, and services analysis to California meal and rest break laws, and found that these laws
9      were not preempted by the FAAAA. 769 F.3d 637 (9th Cir. 2014). Citing Rowe, the Ninth Circuit
10     observed that preemption could occur even if a state law’s effect is only indirect, but that “whether
11     direct or indirect, ‘the state laws whose effect is forbidden under federal law are those with a
12     significant impact on [] rates, routes, or services.’” Id. at 645.
13             The Court finds that Dilts properly guides the outcome in this context, despite the fact that it
14     dealt with wage and hour laws. For example, Delta raised in oral argument that one rationale of
15     preemption is that airlines should not be subjected to a confusing patchwork of state regulations.
16     Rowe, 552 U.S. at 373. However, wage and hour laws, just like consumer protection laws, do vary
17     from state to state. And, the Ninth Circuit specifically stated that Congress’s concern with an
18     impermissible “patchwork” of laws was only relevant to laws “that are significantly ‘related to’
19     prices, routes and services.” Dilts, 769 F.3d at 647 (“The fact that laws may differ from state to state
20     is not, no its own, cause for [] preemption.”). Moreover, to the extent a wage and hour law did
21     directly relate to an airline’s rates, routes, or services, such a statute would be appropriately
22     preempted. See People ex rel. Harris v. Pac Anchor Transportation, Inc., 329 P.3d 180, 188 (2014)
23     (noting that the FAAAA “does not preempt generally applicable employment laws that affect prices,
24     routes, and services”). A claim-by-claim analysis determines whether preemption applies—not the
25     categorical nature of the statute at issue. Id. (where states had “unfair competition laws or deceptive
26     trade practices statutes in force at the time Congress passed the FAAAA . . . Congress did not
27     perceive these laws as implicating regulation of prices, routes, or services”).
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1                The analysis set forth by Dilts is not a bright line test—the Court’s job is to “draw a line
2      between laws that are “significantly” ‘related to’ rates, routes, or services, even indirectly, and thus
3      are preempted, and those that have ‘only a tenuous, remote, or peripheral’ connection to rates,
4      routes, or services, and thus are not preempted.” Id. at 643. While this line may be easier to draw in
5      cases like Morales, where it was “clear” the fare advertising restrictions at issue impacted rates,4 the
6      Ninth Circuit has set forth guidance for what to do in “borderline cases,” where “a law does not refer
7      directly to rates, routes, or services.” Dilts, 769 F.3d at 646. In these cases, “the proper inquiry is
8      whether the provision, directly or indirectly, binds the carrier to a particular price, route, or service
9      and thereby interferes with the competitive market forces within the industry.” Id. In applying this
10     test to the meal and rest break laws, the Ninth Circuit found that “[t]hey do not set prices, mandate or
11     prohibit certain routes, or tell [] carriers what services they may or may not provide, either directly
12     or indirectly.” Id. at 647. Accordingly, the meal and rest break laws did not bind a carrier to specific
13     prices, routes, or services, and could not be preempted. Id.
14               Laws do not bind carriers to rates, routes, or services even if there is some impact on costs or
15     market share. Id. at 646 (noting that “[n]early every form of state regulation carries some cost”). In
16     Dilts, the Ninth Circuit acknowledged that employers may have to factor prevailing wage laws or
17     safety regulations “into their decisions about the prices they set, the routes that they use, or the
18     services that they provide.” Id. State laws may also “shift[] incentives and make[] it more costly for
19     [] carriers to choose some routes or services relative to others, leading the carriers to reallocate
20     resources or make different business decisions.” Id. at 647. However, as long as the state laws did
21     not interfere with a carriers decision to “make their own decisions about where to fly and how many
22     resources to devote to each route and service,” such laws are not preempted. Id.
23               Here, the Court is not deciding whether false or deceptive advertising in general, or whether
24     California consumer protection statutes generally, are preempted. The Court’s task at hand is to
25     discern “on which side of the line” state regulation of Delta’s claims of carbon-neutrality falls (if
26     they are not accurate). California Trucking Ass’n v. Su, 903 F.3d 953, 960 (9th Cir. 2018). The Court
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           Morales, 504 U.S. at 388.


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1      does not find that the claims at issue directly refer to rates, routes, or services.5 Therefore, the
2      question before the Court is whether or not Delta would be bound to particular rates, routes, or
3      services if its representations on carbon-neutrality were regulated by state law. Delta argues that
4      Berrin’s claims relate to both Delta’s rates and services. As discussed below, the Court does not find
5      that Berrin’s claims would bind Delta to any particular rate or service. Accordingly, the Court finds
6      that the claims are not preempted.
7                            i. Berrin’s claims do not sufficiently relate to Delta’s rates.
8              Delta focuses on specific allegations in the FAC that Delta argues makes Berrin’s claims
9      relevant to its rates—that Berrin would not have paid, or paid substantially less, for the flights (FAC
10     ¶ 8); that she lost money as a result (FAC ¶ 105); and that Delta gained “undeserved market share”
11     (FAC ¶ 1). The Court finds that none of these allegations sufficiently relate to Delta’s rates to be
12     preempted under the ADA.
13             Here, any claims about what Berrin would have paid do not affect Delta’s rates in the way
14     that allegations that Delta charged a price premium does. Allegations regarding the latter imply that
15     Delta should have charged less on its end, and therefore may implicate its rates. However,
16     allegations regarding the former are merely subjective opinions from a customer that can be
17     separated from how much Delta should charge. The damages Berrin alleges that she suffered cannot
18     be reverse-engineered to implicate Delta’s rates, because the damages at issue are individualized to
19     Berrin. There are undoubtedly numerous other Delta customers who have no issue with Delta’s rates,
20     regardless of its carbon-neutral status. See Kwikset Corp. v. Superior Court, 246 P.3d 877, 890
21     (2011) (“For each consumer who relies on the truth and accuracy of a label and is deceived by
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         At the hearing, Delta argued that there is a direct relationship between the claims at issue and rates, routes,
       and services. However, it cannot be disputed that the claims do not directly reference Delta’s rates, routes, or
24     services. Delta next argued that even if the relationship was indirect, the Court should next analyze whether
       there is a significant impact to rates, routes, and services, and only if it found there was not, would the Dilts
25     test apply. As an initial matter, this is an incorrect reading of the case law. A borderline case is one where a
       law “does not refer directly to rates, routes, or services,” in which case the Dilts test applies. Dilts, 769 F.3d at
26     646. It would be illogical for the Dilts test to apply only after a finding that there is no significant impact—if a
       claim had no significant impact on rates, routes, or services, it would not be found to bind an airline to the
27     same. Meanwhile, if rates, routes, or services are directly referenced, evaluating whether the claim has a
       significant impact is still necessary to find preemption. Morales, 504 U.S. at 389. In any event, as explained
28     below, the Court does not find that Berrin’s claims have a significant impact on rates, routes, and services.


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1      misrepresentations into making a purchase, the economic harm is the same: the consumer has
2      purchased a product that he or she paid more for than he or she otherwise might have been willing to
3      pay if the product had been labeled accurately . . . Two wines might to almost any palate taste
4      indistinguishable—but to serious oenophiles, the difference . . . might be sufficient to carry with it
5      real economic differences in how much they would pay.”).6
6                Berrin is not alleging that Delta charged more than it was supposed to for its flights. What
7      Berrin alleges is that she would not have paid as much as she did, or at all, for a Delta ticket if she
8      knew that Delta was not carbon-neutral. Allegations regarding how much any particular consumer
9      would be subjectively willing to pay for a flight have no bearing on how much Delta is required to
10     charge for its flights. Berrin’s claims, if enforced, would not require that Delta should have to set its
11     rates at any particular amount, or that it has to make any claims about carbon neutrality with regards
12     to how it would like to market its flights. See Hickcox-Huffman v. US Airways, Inc., 855 F.3d 1057,
13     1066 (9th Cir. 2017) (finding no preemption where “[n]o state law made [the defendant] promise
14     timely delivery of the first bag for $15” and that the defendant “could have made any of the promises
15     hypothesized or none of them”); cf. Morales, 504 U.S. at 375 (noting that challenged guidelines
16     “require[d] . . . that advertisements contain certain disclosures as to fare terms, restrictions, and
17     availability”). Rather, enforcement under these circumstances would entail that, should Delta want to
18     make a claim that it is carbon-neutral, it must actually be carbon-neutral. That damages may be
19     ultimately be calculated in the form of a price premium7 does not change that the thrust of the claim
20     itself is not an allegation of a price premium. For example, if Berrin bought a ticket for a window
21     seat on a flight and was given an aisle seat instead, her remedy may be a refund, or the difference in
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         Delta cites to non-binding case law, specifically Vail, where the defendants were alleged to have charged
24     extra to help defray the cost of a new security system that was never implemented. Vail v. Pan Am Corp., 260
25     N.J. Super. 292, 299 (1992). The New Jersey Superior Court found that this claim “at the very least, indirectly
       relates to the ‘rates’ charged by an air carrier.” Id. The Court does not interpret Morales to compel the
26     conclusion that anything that “indirectly” relates to the rates charged must be preempted. Rather, binding
       precedent appears to hold otherwise—specifically, “whether the effect is direct or indirect, ‘the state laws
27     whose effect is forbidden under federal law are those with a significant impact on [] rates, routes or services.”
       Dilts, 769 F.3d at 645.
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           The Court is not making any finding at this stage of how damages would or should be calculated in this case.


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1      price between the two seats. But, the nature of her allegation is not necessarily that she should have
2      paid less—she paid for the window seat and presumably had no objection to paying what she did for
3      it. The nature of her allegation would simply be that Delta wronged her by giving her the wrong seat.
4             Of course, it may be true that requiring Delta to not make false representations regarding the
5      company’s environmental impact could impact the prices it could set, or cost Delta more to
6      accurately meet the carbon-neutral standards it is claiming. But, even if there is some cost associated
7      with being regulated, this is insufficient to find a relation to rates—just because regulations may
8      cause airlines to “face increased costs,” that does not make them impermissible. California Trucking
9      Ass’n, 903 F.3d at 963. This is further exemplified by the Ninth Circuit’s analysis of ADA
10     preemption on an anti-discrimination ordinance—there, although the airlines argued that the costs of
11     compliance with the ordinance would “force [them] to change their routes and services,” the district
12     court found that the only costs complained of were “small, if not inconsequential.” Air Transport
13     Ass’n of America v. City and County of San Francisco, 26 F.3d 1064, 1074 (9th Cir. 2011). Here,
14     Delta has not identified how, if at all, regulation on its carbon-neutrality representations would
15     significantly and necessarily impact the prices they could set.
16            Delta’s argument that Berrin’s allegations that Delta has gained undeserved market share
17     shows a relation to rates is similarly unpersuasive. Again, her claims would create no discernable
18     obligation as to how Delta, or any airline, must market towards environmentally conscious travelers
19     or how it should compete in the marketplace. While Delta notes a lack of authority where
20     preemption did not apply to an airline’s advertisements, this does not mean that any attempt to
21     regulate an airline’s advertising must be preempted. For example, Wolens specified that the
22     congressional purpose of the ADA was to leave to the airlines “the selection and design of marketing
23     mechanisms appropriate to the furnishing of air transportation services” (emphasis added). Wolens,
24     513 U.S. at 220. Therefore, if the message being advertised is not sufficiently related to rates, routes,
25     or services, the advertising may properly be regulated. See Morales, 504 U.S. at 390 (noting that
26     state regulation of “nonprice aspects of fare advertising” would be more “tenuous,” such as in cases
27     involving obscenity). For instance, it is conceivable that Delta could gain market share if it
28     advertised “gambling and prostitution” to consumers. Id. at 390. But, the precedent set by the


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1      Supreme Court clearly leaves room for states to regulate such advertisement, and suggests it would
2      not be preempted. Id.8
3              Accordingly, as the Court does not find that Berrin’s claims would bind Delta to any
4      particular rate, the Court does not find that the claims sufficiently relate to rates such that preemption
5      would apply.
6                          ii. Berrin’s claims do not sufficiently relate to Delta’s services.
7              The Court also does not find that Berrin’s claims relate to Delta’s services such that they
8      should be preempted, because regulation on carbon-neutrality would not bind Delta to any particular
9      service. As an initial matter, it is not clear that there is even a service at issue. Delta points out that
10     Berrin’s allegations expressly implicate the manner by which Delta transports its passengers. Motion
11     at 11. However, the FAC is clear that carbon-neutrality is not achieved through any difference on
12     Delta’s actual flights, which presumably exude the same amount of carbon regardless of how
13     carbon-neutral Delta represents itself to be. Rather, carbon-neutrality is achieved through carbon
14     offsetting via investment in the carbon offset market. FAC ¶ 5. While airlines surely may compete
15     by choosing to offer different services that would affect the travel experience, the Court finds that
16     carbon-neutrality does not qualify as such a “service.” See Charas v. TransWorld Airlines, Inc., 160
17     F.3d 1259, 1265–66 (9th Cir. 1998) (“It therefore follows that ‘service,’ when juxtaposed to ‘rates’
18     and routes,’ refers to such things as the frequency and scheduling of transportation, and to the
19     selection of markets to or from which transportation is provided.”).9 The Ninth Circuit in particular
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21     8
         At the hearing, Delta argued that states had historic police powers to regulate prostitution and gambling, and
       therefore these examples were distinguishable. But, the historic police powers of the state is not an element in
22     the preemption analysis set forth by Morales. Rather, the preemption analysis as laid out by the Supreme
23     Court in Morales focuses on whether a claim “relates to” rates, routes, or services. Morales, 504 U.S. at 390.
       Even areas where states have had historic police powers may be preempted where Congress articulates a clear
24     intent to do so. Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996). One could imagine that a state gambling
       regulation that required airlines to offer seats with gambling services for a specific flight could very well be
25     preempted consistent with the ADA’s statutory purpose.

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         Delta also argues that a CLRA claim requires a transaction that results in the sale of “goods or services,” and
       that since carbon neutrality is not a good, it must be a service under the CLRA. Motion at 13. However, as
27     noted in Charas, the definition of the term “service” in the context of ADA preemption is particular to the
       statute, whereas the definition of “services” in the context of the CLRA appears to be quite different. Cal. Civ.
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1      appears to have cabined the definition of “service,” noting that to interpret it more broadly would
2      “result in the preemption of virtually everything an airline does,” which is “not what Congress
3      intended.” Id.10
4              Regardless, even if a service were involved, the regulation at issue does not bind Delta to
5      providing carbon neutral flights. As the Ninth Circuit reminded in Air Transport Ass’n of America,
6      “the question is not whether the Ordinance compels or binds [the airline] into not discriminating; the
7      question is whether the Ordinance compels or binds them to a particular price, route, or service.” Id.
8      at 1074. Similarly, here, the question is not whether state regulation would compel Delta to make
9      accurate representations about its carbon neutrality; the question is whether such regulation would
10     bind them to a particular service, like offering carbon neutral flights or not. Regulation in this
11     manner does neither, as Delta can do whatever it wishes with regards to carbon-neutrality—the
12     regulation at issue would only require that Delta accurately represent what it is doing, if it chooses to
13     make any representations at all.
14             Accordingly, the Court does not find that Berrin’s claims bind Delta to any particular service,
15     and therefore are not sufficiently related to services so as to be preempted.
16                 B. Berrin’s FAL and UCL Claims Are Insufficiently Pleaded
17             Delta next argues that should preemption not apply, Berrin’s FAL and UCL claims should be
18     dismissed because there is an adequate legal remedy, which is demonstrated by Berrin’s CLRA
19     claim that seeks money damages. Delta cites to Sonner, a Ninth Circuit case finding that a plaintiff
20     “must establish that she lacks an adequate remedy at law before securing equitable restitution for
21     past harm under the UCL and CLRA.” 971 F.3d 834, 844 (9th Cir. 2020). The Court finds that
22
23     Code § 1761(b) (defined as “work, labor, and services for other than a commercial or business use, including
       services furnished in connection with the sale or repair of goods”). Therefore, it does not appear that the
24     service under ADA preemption and the CLRA need to match—Berrin could assert that the service under the
       CLRA is a carbon-neutral flight without conceding preemption under the ADA.
25
       10
         The Court notes that this appears to be the minority view among the circuits. See Air Transp. Ass’n of Am.,
26     Inc. v. Cuomo, 520 F.3d 218, 223 (2d Cir. 2008) (“A majority of the circuits to have construed ‘service’ have
       held that the term refers to the provision or anticipated provision of labor from the airline to its passengers
27     and encompass matters such as boarding procedures, baggage handling, and food and drink.”). However, even
       under this view, carbon neutrality would not qualify as a service as it involves no labor from the airline to its
28     passengers.


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1      Sonner is clear that equitable restitution specifically cannot be sought where an adequate legal
2      remedy exists—therefore, to the extent that Berrin seeks equitable restitution (see FAC ¶ 95), the
3      Court finds that Berrin has actually alleged that there is an adequate legal remedy. See FAC ¶ 86
4      (seeking $1,000 and punitive damages for each class member). Therefore, she cannot adequately
5      allege the basis for seeking equitable restitution.
6             Nevertheless, this is insufficient for dismissal of the FAL and UCL claims completely. As
7      Delta concedes, neither Sonner nor other binding precedent would forbid Berrin from pleading
8      alternative remedies. Motion at 16. Here, while Berrin appears to be seeking actual damages for past
9      harm, the Court is satisfied that allegations of future harm may not have an adequate remedy at law,
10     and therefore equitable relief may be appropriate. See FAC ¶¶ 96, 109 (seeking injunctive relief for
11     FAL and UCL claims). However, Delta has separately raised that Berrin does not have standing for
12     injunctive relief. “Article III standing requires an injury that is actual or imminent, not conjectural or
13     hypothetical. In the context of injunctive relief, the plaintiff must demonstrate a real or immediate
14     threat of irreparable injury.” Cole v. Oroville Union High Sch., 228 F.3d 1092, 1100 (9th Cir. 2000).
15     Berrin argues that she is a loyal customer who “hopes to continue to use Delta’s business in the
16     future.” Opposition at 16. However, no such allegations are in the FAC, and it does not appear that
17     Berrin has alleged any sort of intent to purchase flights from Delta in the future. Therefore, she lacks
18     standing to seek any sort of injunctive relief, as there is no threat of harm. The Court finds that this
19     deficiency may be cured by amendment.
20            Accordingly, the FAL and UCL claims are dismissed with leave to amend.
21                C. Berrin’s CLRA Claim Is Adequately Alleged
22            Delta argues that Berrin’s CLRA claim must be narrowed, and specifically that there is no
23     applicability in this case for California Civil Code Section 1770(a), (2) and (3). Specifically,
24     1770(a)(2) forbids misrepresenting the source, sponsorship, approval, or certification of goods or
25     services, and 1770(a)(3) forbids misrepresenting the affiliation, connection, or association with, or
26     certification, by another. Cal. Civ. Code § 1770(a). The FAC places at issue the verification of the
27     offsets, in particular by “three major voluntary carbon credit vendors.” FAC ¶¶ 49–55. This would
28     appear to relate to the source or certification of any carbon-neutrality. At the hearing, Delta


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1      emphasized that Berrin is not alleging that Delta is the one directly falsifying any certifications.
2      However, Berrin’s allegations are that these vendors base their certifications on fraudulent
3      projections of carbon reduction. FAC ¶ 20. Additionally, Berrin alleges that Delta either knew or
4      should have known about this, such that its representations about its own carbon-neutrality are
5      effectively misrepresentations about the accuracy of the underlying certification. FAC ¶ 69–70; see
6      Colgan v. Leatherman Tool Group, Inc., 135 Cal. App. 4th 663, 680 (2006) (“The CLRA is to be
7      ‘liberally construed and applied to promote its underlying purposes, which are to protect consumers
8      against unfair and deceptive practices and to provide efficient and economical procedures to secure
9      such protection.’”).
10              Accordingly, the Court finds the CLRA claim adequately alleged, although any equitable
11     relief sought under the CLRA is also dismissed with leave to amend for lack of standing, just like the
12     FAL and UCL claims discussed above.
13        IV.      Conclusion
14              For the foregoing reasons, the Court GRANTS IN PART Defendant’s Motion to Dismiss,
15     and hereby ORDERS as follows:
16        1. Plaintiff’s Second Cause of Action for False Advertising is DISMISSED with leave to
17              amend;
18        2. Plaintiff’s Third Cause of Action for Unlawful, Unfair, and Fraudulent Trade Practices is
19              DISMISSED with leave to amend.
20
21              IT IS SO ORDERED.
22
23      Dated: March 28, 2024                        ___________________________________
24                                                   MAAME EWUSI-MENSAH FRIMPONG
25                                                             United States District Judge
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